UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

 

AT GREENEVILLE
UNITED STATES OF AMERICA ) ol
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V. )  No.: 2:20-MJ- l a
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EMORY Q. JACKSON )
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MOTION TO SEAL
The United States of America, by and through the United States Attorney for the
Eastern District of Tennessee, hereby moves to seal all documents in this case, including the
Motion to Seal until the defendant is arrested or until further order of the court, on the grounds
that there is an ongoing criminal investigation which could be jeopardized by public disclosure
of this matter at this time.
Respectfully submitted on August 12, 2020.

J. DOUGLAS OVERBEY
United States Attorney

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carher L. AHL

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